         Case 3:06-cr-00017-BAJ-RLB   Document 859   03/31/10   Page 1 of 7




USATTY
Case 3:06-cr-00017-BAJ-RLB   Document 859   03/31/10   Page 2 of 7
Case 3:06-cr-00017-BAJ-RLB   Document 859   03/31/10   Page 3 of 7
Case 3:06-cr-00017-BAJ-RLB   Document 859   03/31/10   Page 4 of 7
Case 3:06-cr-00017-BAJ-RLB   Document 859   03/31/10   Page 5 of 7
Case 3:06-cr-00017-BAJ-RLB   Document 859   03/31/10   Page 6 of 7
Case 3:06-cr-00017-BAJ-RLB   Document 859   03/31/10   Page 7 of 7
